              Case 1:22-cv-21489-KMM Document
JS 44 (Rev. 10/20) FLSD Revised 02/12/2021    1-1 COVER
                                          CIVIL    EnteredSHEET
                                                           on FLSD Docket 05/13/2022 Page 1 of 1
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.) NOTICE: Attorneys MUST Indicate All Re-filed Cases Below.
I. (a) PLAINTIFFS                                                                                        DEFENDANTS
        Heriberto Valiente, individually and on behalf of all others similarly situated,                 StockX, Inc.

  (b) County of Residence of First Listed Plaintiff                       Miami-Dade                     County of Residence of First Listed Defendant
               (EXCEPT IN U.S. PLAINTIFF CASES)                                                                            (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                         NOTE:            IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                          THE TRACT OF LAND INVOLVED.
  (c) Attorneys (Firm Name, Address, and Telephone Number)                      Attorneys (If Known)
      The Wright Law Office, P.A., 515 N Flagler Dr Ste P300 West Palm Beach FL
      33401-4326 (561) 514-0904
  (d) Check County Where Action Arose:  MIAMI-DADE  MONROE  BROWARD  PALM BEACH  MARTIN  ST. LUCIE  INDIAN RIVER  OKEECHOBEE  HIGHLANDS
II.     BASIS OF JURISDICTION (Place an “X” in One Box Only)                                       III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff)
                                                                                                              (For Diversity Cases Only)                                           and One Box for Defendant)
         1 U.S. Government           3                   Federal Question                                                         PTF       DEF                                             PTF     DEF
                Plaintiff                    (U.S. Government Not a Party)                               Citizen of This State      1        1      Incorporated or Principal Place         4      4
                                                                                                                                                      of Business In This State

         2 U.S. Government           4                         Diversity                               Citizen of Another State        2   2      Incorporated and Principal Place        5      5
                Defendant                    (Indicate Citizenship of Parties in Item III)                                                            of Business In Another State

                                                                                                         Citizen or Subject of a         3   3      Foreign Nation                          6      6
                                                                                                         Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                        Click here for: Nature of Suit Code Descriptions
           CONTRACT                                           TORTS                                 FORFEITURE/PENALTY                       BANKRUPTCY                                 OTHER STATUTES
 110   Insurance                      PERSONAL INJURY              PERSONAL INJURY              625 Drug Related Seizure             422 Appeal 28 USC 158                     375 False Claims Act
 120   Marine                        310 Airplane                365 Personal Injury –                of Property 21 USC 881        423 Withdrawal                            376 Qui Tam (31 USC
 130   Miller Act                    315 Airplane Product             Product Liability        690 Other                                  28 USC 157                                    3729 (a))
 140   Negotiable Instrument              Liability               367 Health Care/                                                                                              400     State Reapportionment
 150   Recovery of Overpayment       320 Assault, Libel &             Pharmaceutical                                                     PROPERTY RIGHTS                        410     Antitrust
        & Enforcement of Judgment          Slander                      Personal Injury                                                820 Copyright                             430     Banks and Banking
 151   Medicare Act                  330 Federal Employers’           Product Liability                                              830 Patent                                450     Commerce
 152   Recovery of Defaulted              Liability               368 Asbestos Personal                                              835 Patent – Abbreviated                  460     Deportation
        Student Loans                 340 Marine                       Injury Product                                                       New Drug Application                 470     Racketeer Influenced
        (Excl. Veterans)              345 Marine Product               Liability                                                      840 Trademark                                      and Corrupt
 153   Recovery of Overpayment            Liability                                                                                   880 Defend Trade Secrets                           Organizations
        of Veteran’s Benefits         350 Motor Vehicle          PERSONAL PROPERTY                                                          Act of 2016                          480     Consumer Credit
 160   Stockholders’ Suits           355 Motor Vehicle           370 Other Fraud                                                                                                        (15 USC 1681 or 1692)
 190   Other Contract                     Product Liability       371 Truth in Lending                      LABOR                        SOCIAL SECURITY                        485     Telephone Consumer
 195   Contract Product Liability    360 Other Personal Injury  380 Other Personal            710 Fair Labor Standards Act  861 HIA (1395ff)                                          Protection Act (TCPA)
 196   Franchise                     362 Personal Injury –            Property Damage          720 Labor/Mgmt. Relations            862 Black Lung (923)                      490     Cable/Sat TV
                                           Med. Malpractice        385 Property Damage          740 Railway Labor Act                863 DIWC/DIWW (405(g))                    850     Securities/Commodities/
                                                                        Product Liability        751 Family and Medical               864 SSID Title XVI                                 Exchange
                                                                                                         Leave Act                     865 RSI (405(g))                          890     Other Statutory Actions
                                                                                                 790 Other Labor Litigation                                                      891     Agricultural Acts
        REAL PROPERTY                    CIVIL RIGHTS              PRISONER PETITIONS  791 Empl. Ret. Inc. Security Act                  FEDERAL TAX SUITS                       893     Environmental Matters
 210   Land Condemnation             440 Other Civil Rights          Habeas Corpus:                                                  870 Taxes (U.S. Plaintiff                 895     Freedom of Information
 220   Foreclosure                   441 Voting                  463 Alien Detainee                                                       or Defendant)                                 Act
 230   Rent Lease & Ejectment        442 Employment              510 Motions to Vacate                                              871 IRS—Third Party                       896     Arbitration
 240   Torts to Land                 443 Housing/                     Sentence                                                             26 USC 7609                          899     Administrative
 245   Tort Product Liability             Accommodations                  Other:                        IMMIGRATION                                                                       Procedure Act/Review
 290   All Other Real Property       445 Amer. w/Disabilities –  530 General                  462 Naturalization Application                                                           or Appeal of Agency
                                           Employment              535 Death Penalty            465 Other Immigration                                                                    Decision
                                      446 Amer. w/Disabilities –  540 Mandamus & Other                 Actions                                                                           Constitutionality of
                                           Other                   550 Civil Rights                                                                                              950     State Statutes
                                      448 Education               555 Prison Condition
                                                                   560 Civil Detainee –
                                                                        Conditions of
                                                                        Confinement
V.      ORIGIN (Place an “X” in One Box Only)
 1 Original           2 Removed from  3 Re-filed                   4. Reinstated or         5 Transferred             6 Multidistrict    7 Appeal to            8 Multidistrict       9 Remanded from
      Proceeding            State Court             (See VI below)          Reopened                 from another               Litigation          District Judge          Litigation –            Appellate Court
                                                                                                     district (specify)         Transfer            from Magistrate         Direct File
                                                                                                                                                    Judgment
VI. RELATED/         (See instructions): a) Re-filed Case  YES  NO                                                         b) Related Cases  YES  NO
    RE-FILED CASE(S)                     JUDGE:                                                                              DOCKET NUMBER:
                                          Cite the U.S. Civil Statute under which you are filing and Write a Brief Statement of Cause (Do not cite jurisdictional statutes unless diversity):
VII. CAUSE OF ACTION                      28 U.S.C. § 1332; false advertising
                                          LENGTH OF TRIAL via 14 days estimated (for both sides to try entire case)
VIII. REQUESTED IN
      COMPLAINT:                            CHECK IF THIS IS A CLASS ACTION
                                             UNDER F.R.C.P. 23
                                                                                                          DEMAND $5,000,000
                                                                                                                                                    CHECK YES only if demanded in complaint:
                                                                                                                                                    JURY DEMAND:              Yes         No
ABOVE INFORMATION IS TRUE & CORRECT TO THE BEST OF MY KNOWLEDGE
                    DATE                                SIGNATURE OF ATTORNEY OF RECORD
                May 12, 2022                            /s/ Will Wright
FOR OFFICE USE ONLY:              RECEIPT #                  AMOUNT                          IFP               JUDGE                                          MAG JUDGE
